     Case 4:19-cv-00300-RH-MJF Document 84 Filed 07/16/19 Page 1 of 49




          IN THE UNITED STATES DISTRICT COURT
         FOR THE NORTHERN DISTRICT OF FLORIDA
                  TALLAHASSEE DIVISION



KELVIN LEON JONES, et al.,

            Plaintiffs,

                          v.          Civil Action No. 4:19-cv-00300-
                                      MW-MJF [Lead Case]
RON DeSANTIS, in his official
capacity as Governor, et al., No. 4:19-cv-00301-MW-MJF
                              [Consolidated]
           Defendants.
                              No. 4:19-cv-00302-MW-MJF
                              [Consolidated]

                                      No. 4:19-cv-00304-MW-CAS
                                      [Consolidated]

                                      No. 4:19-cv-00272-MW-CAS
                                      [Consolidated]

                                      [Class Action]


                   FIRST AMENDED COMPLAINT

     In the matter of Raysor, et al. v. Lee, No. 4:19-cv-00301-MW-MJF,

consolidated with the above-captioned matter as Jones, et al. v. DeSantis,

et al., No. 4:19-cv-00300-MW-MJF, Plaintiff Bonnie Raysor, Plaintiff

Diane Sherrill, and Plaintiff Lee Hoffman (“Plaintiffs”) bring this class
     Case 4:19-cv-00300-RH-MJF Document 84 Filed 07/16/19 Page 2 of 49




action against Laurel M. Lee, in her official capacity as Secretary of State

(“Defendant”), and allege the following:

                            INTRODUCTION

     1.    On November 6, 2018, almost two-thirds of Floridians voted

for Amendment 4 to restore the right to vote to individuals with past

felony convictions. Except for individuals convicted of murder or felony

sexual offense, Amendment 4 re-enfranchised otherwise eligible Florida

citizens automatically “upon completion of all terms of sentence including

parole or probation.” Fla. Const. art. VI, § 4.

     2.     On June 28, 2019, Governor Ron DeSantis signed Senate Bill

7066 (“SB 7066”), which purports to “implement” Amendment 4, in part

by seeking to define “all terms of sentence” to include the payment of any

restitution, fines, and fees (“legal financial obligations” or “LFOs”)

ordered by the court “as a part of the sentence or that are ordered by the

court as a condition of any form of supervision.” S.B. 7066, 2019 Leg.,

Reg. Sess., § 25 (Fla. 2019) (emphasis added).

     3.    Amendment 4 went into effect on January 8, 2019. SB 7066

went into effect on July 1, 2019.




                                         2
     Case 4:19-cv-00300-RH-MJF Document 84 Filed 07/16/19 Page 3 of 49




     4.    The natural and foreseeable effect of this “implementing” law

will be to drastically reduce the number of people with past convictions

who regain the right to vote under Amendment 4; permanently

disenfranchise many minor offenders; and dole out the right to vote on

the basis of wealth.

     5.     On its face, SB 7066 discriminates on the basis of wealth.

People with the financial means to satisfy their LFOs either during or at

the conclusion of their sentence of incarceration or supervision will have

their rights automatically restored. But, people whose socioeconomic

status prevents them from satisfying their LFOs concurrent with the

termination of their incarceration or supervision will be prohibited from

voting until they are able to pay their outstanding balance.

     6.    As a result, whether otherwise eligible individuals will have

the right to vote upon completion of their sentence of incarceration and

supervision depends entirely on their ability to pay for it. Indeed, two

otherwise eligible individuals with the same conviction, who received the

same terms of probation and parole, and the same LFOs, would be

treated differently under SB 7066 based solely on whether they have the

means to satisfy their LFOs.


                                       3
     Case 4:19-cv-00300-RH-MJF Document 84 Filed 07/16/19 Page 4 of 49




     7.    In short, SB 7066’s wealth-based discrimination not only

violates the Fourteenth Amendment, but also the Twenty-Fourth

Amendment by functioning as a modern-day poll tax.

     8.    Further, SB 7066 is vague as to its scope. For example, it is

internally contradictory with respect to whether fees or costs incurred

after sentencing may nonetheless disenfranchise a person. Although the

statute states that individuals must pay all LFOs imposed as a condition

of supervision, it also states that individuals must pay only the amount

specifically ordered by the court at sentencing. Yet, standard conditions

of probation, which are imposed at sentencing, often require individuals

to pay off certain debts that are only incurred after sentencing. Thus, SB

7066 will confuse potential voters and chill core First Amendment

speech.

     9.    Finally, under SB 7066, it will be extraordinarily difficult for

individuals with past convictions to determine their eligibility to vote and

the risk of erroneous deprivation of the right to vote is high. Persons with

both disqualifying and non-disqualifying LFOs will struggle to

disaggregate those outstanding debts. And, the updated state voter




                                        4
     Case 4:19-cv-00300-RH-MJF Document 84 Filed 07/16/19 Page 5 of 49




registration form provided for in SB 7066 fails to inform people with

convictions of the new eligibility requirements the law creates.

     10.   As a result of SB 7066, people with convictions will often be

left in the dark and find themselves in need of a lawyer just to find out

their eligibility to vote. Individuals who register in error risk felony

prosecution and thus the unique threat of recidivism. Such ambiguity

surrounding access to the right to vote violates procedural due process

and cannot survive scrutiny under the First and Fourteenth

Amendments.

                    JURISDICTION AND VENUE

     11.   This action is brought under the United States Constitution.

This Court has jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1343.

     12.   This Court has personal jurisdiction over Defendant Lee, who

is an appointed state official and a resident of Florida.

     13.   Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b).

Among other things, the office of Defendant Lee is located in this District.

     14.   This Court has authority to issue declaratory and injunctive

relief pursuant to 28 U.S.C. §§ 2201 and 2202.




                                        5
     Case 4:19-cv-00300-RH-MJF Document 84 Filed 07/16/19 Page 6 of 49




                               PARTIES

     15.   Plaintiff Bonnie Raysor (née Bonnie Ryan) is fifty-eight years

old and has resided in Florida since she was seventeen. She is a United

States citizen and currently resides in Boynton Beach, Florida.

     16.   After becoming addicted to opioids, Plaintiff Raysor was

charged in 2009 and convicted in October 2010 of six felony and two

misdemeanor drug-related charges. Since she was unable to afford an

attorney, Plaintiff Raysor was assigned a public defender for these

charges. She was sentenced to one year, six months, and five days in

prison. Plaintiff Raysor was released from prison on March 29, 2011, with

no parole or probation. She has no other criminal convictions.

     17.   Plaintiff Raysor works as an office manager and makes

thirteen dollars per hour. She has a mortgage and a car payment and is

responsible for the utilities, groceries, and other basic needs for herself

and her nineteen-year-old daughter, who is a full-time student. She also

has approximately $48,000 in student loan debt.

     18.   Voting is important to Plaintiff Raysor. As a Floridian, she

knows how important a single vote can be in a close election. Voting gives




                                       6
     Case 4:19-cv-00300-RH-MJF Document 84 Filed 07/16/19 Page 7 of 49




her the opportunity to make a difference, and to speak her mind

politically. It gives her the opportunity to make her voice heard.

     19.   When Amendment 4 passed, Plaintiff Raysor was thrilled to

regain her right to vote. She proactively reached out for help to

understand her rights and to ensure that she would be able to register to

vote despite her past felony conviction.

     20.   Under SB 7066, however, Plaintiff Raysor is unable to register

and vote in Florida. She has $4,260 in outstanding fines and fees related

to her conviction.

     21.   Upon information and belief, this sum includes fines and fees

associated with her two misdemeanor convictions, as well as her felony

convictions. Upon information and belief, when Plaintiff Raysor was

convicted, all fines and fees levied upon her were in the form of a civil

lien. These fines and fees include the following: court costs, cost of

prosecution, crime stoppers fund, cost of investigation, drug trust fund,

public defender application fee, and public defender fee.

     22.   Based on her current income and ability to pay, Plaintiff

Raysor is on a payment plan with the court, where she pays $30 per

month towards her outstanding balance. Under this payment plan,


                                       7
     Case 4:19-cv-00300-RH-MJF Document 84 Filed 07/16/19 Page 8 of 49




Plaintiff Raysor will not pay off her LFOs until 2031. Thus, under SB

7066, she will not regain her right to vote for another twelve years, at

which time she will be seventy years old.

     23.   Plaintiff Diane Sherrill is fifty-eight years old and is a Florida

resident. She is a United States citizen and currently resides in St.

Petersburg, Florida.

     24.   As a result of her struggle with addiction, Plaintiff Sherrill

was convicted of one count of possession of crack cocaine in the third

degree, two counts of possession of cocaine in the third degree, and one

count of prostitution in the third degree between 1999 and 2005. For each

of these charges, Plaintiff Sherrill was determined to be indigent and was

assigned a public defender.

     25.   Plaintiff Sherrill has been drug-free and sober for over a

decade. She has not had any criminal convictions since 2005. She has two

adult children who live in the area and one grandchild. She is an active

member of her church, Cornerstone Community Church.

     26.   Plaintiff Sherrill largely lives on a fixed Supplemental

Security Income (SSI) of approximately $770 per month. She lives in

public housing and receives approximately $70 per month in


                                        8
     Case 4:19-cv-00300-RH-MJF Document 84 Filed 07/16/19 Page 9 of 49




Supplemental Nutrition Assistance Program (SNAP) benefits, otherwise

known as food stamps. She has recently obtained part-time work at the

local Ruby Tuesdays as a hostess, earning $8 per hour for 15 hours per

week.

      27.   Plaintiff Sherrill lives by herself and is responsible for her

monthly rent of $200, her utility bills (including electric, internet, and

phone), groceries, car insurance and gas, and any other household

expenses.

      28.   Plaintiff Sherrill lost her driver’s license as a result of her

convictions and unpaid LFOs. After ten years, she was recently able to

reinstate her driver’s license in order to help care for her first grandchild.

      29.   Voting is important to Plaintiff Sherrill. As a Floridian, she

knows how important a single vote can be in a close election. Voting gives

her the opportunity to make a difference, and to speak her mind

politically. It gives her the opportunity to make her voice heard.

      30.   A few years ago, Plaintiff Sherrill’s church set up a table for

voter registration of congregants. Plaintiff Sherrill inquired about

whether she could regain her voting rights. The organizers referred her

to the Pinellas County Supervisor of Elections, Deborah Clark. Plaintiff


                                         9
    Case 4:19-cv-00300-RH-MJF Document 84 Filed 07/16/19 Page 10 of 49




Sherrill wrote to Supervisor Clark about restoring her voting rights and

received an application in the mail in response.

      31.   Plaintiff Sherrill wanted to apply to restore her voting rights

but could not understand the confusing application she was sent or the

process she was supposed to follow.

      32.   After the passage of Amendment 4, Plaintiff Sherrill was

excited to register to vote and join her political community in voting in

the next election. Since her convictions are well behind her, she believed

she would be eligible to vote under Amendment 4.

      33.   Under SB 7066, however, Plaintiff Sherrill will not be eligible

to register to vote and vote in the next election.

      34.   Plaintiff Sherrill owes $2,279 in outstanding LFOs related to

her convictions. These LFOs include, inter alia, the following: indigent

criminal defense fees, fines, investigative costs, and court costs. Upon

information and belief, these LFOs also include penalties for

nonpayment. Upon information and belief, all of these outstanding LFOs

were converted to civil liens and sent to a collections agency. Plaintiff

Sherrill is living on a financial razor’s edge. She is unable to afford to pay

these LFOs at this time and cannot foresee a time when she will ever be


                                        10
    Case 4:19-cv-00300-RH-MJF Document 84 Filed 07/16/19 Page 11 of 49




able to pay these LFOs in full. As a result, SB 7066 may amount to

permanent disenfranchisement for Plaintiff Sherrill.

     35.   Plaintiff Lee Hoffman is sixty years old and a Florida

resident. He is a United States citizen and currently resides in Plant City,

Florida.

     36.   Plaintiff Hoffman is a disabled U.S. military veteran. In 1976,

he enlisted in the U.S. Navy. After being administratively discharged for

medical reasons, Plaintiff Hoffman moved to Florida in 1978 to help care

for his mother, who was seriously ill.

     37.   Plaintiff Hoffman has six previous nonviolent felony

convictions. He has a burglary conviction in Pinellas County from 1978,

and convictions in Hillsborough County for criminal mischief in 1995,

grand theft in 2001, and driving without a license and possession of

cocaine in 2006. Plaintiff Hoffman also has a robbery conviction in

California from 1985.

     38.   Since 2006, Plaintiff Hoffman has had no felony convictions.

He completed probation in 2008. He now spends his time as a minister

and advocate for the homeless, and was recently appointed to the Board

of Directors of Bay Area Legal Services.


                                         11
    Case 4:19-cv-00300-RH-MJF Document 84 Filed 07/16/19 Page 12 of 49




     39.   Plaintiff Hoffman’s primary source of income is a monthly

disability benefit in the amount of $907. He also works part time, three

to four months each year, as a federal contractor with National

Telecommunications Institute, working with the Internal Revenue

Service. Plaintiff Hoffman earns approximately $1,140 per month during

the months he spends working as a contractor.

     40.   Voting is important to Plaintiff Hoffman. As a Floridian, he

knows how important a single vote can be in a close election. Voting gives

him the opportunity to make a difference, and to speak his mind

politically. It gives him the opportunity to make his voice heard.

     41.   When Amendment 4 passed in November 2018, Plaintiff

Hoffman felt relieved and empowered. He was excited to finally have the

opportunity to register and participate in the democratic process. He

registered to vote in Hillsborough County on January 17, 2019. As of July

15, 2019, the State of Florida Voter Information Lookup tool maintained

by the Florida Department of State lists Plaintiff Hoffman as an Active

voter.

     42.   Shortly thereafter, Plaintiff Hoffman learned about SB 7066.

Plaintiff Hoffman saw SB 7066 as a betrayal by lawmakers and an


                                       12
    Case 4:19-cv-00300-RH-MJF Document 84 Filed 07/16/19 Page 13 of 49




attempt to pull the rug out from under the thousands of formerly

incarcerated Floridians who had registered to vote in the wake of

Amendment 4.

        43.   Until he read about SB 7066, Plaintiff Hoffman did not know

that he still owed LFOs associated with his felony convictions. Upon

learning about SB 7066, he contacted the relevant county authorities to

determine whether he had any outstanding LFOs. Plaintiff Hoffman

believes he owes a total of $1,772.13 in LFOs, $469.88 of which are

associated with his felony convictions.

        44.   Plaintiff Hoffman is not aware of any means by which he can

prioritize payment of his felony LFOs to reduce the amount of time he is

disenfranchised by SB 7066. Nor does he know whether the $469.88

associated with his felony convictions represents LFOs ordered at the

time of his conviction, or if it incorporates amounts accrued at a later

date.

        45.   If he was permitted to prioritize his felony LFOs, Plaintiff

Hoffman estimates that he may be able to repay the outstanding balance

associated with his felony convictions in approximately one to two years

if he were to dedicate a significant portion of his supplemental income to


                                        13
    Case 4:19-cv-00300-RH-MJF Document 84 Filed 07/16/19 Page 14 of 49




paying off his LFOs—assuming that he does not have any unexpected

medical or other emergency expenses. If he is unable to prioritize his

LFOs, it would take over three times as long for him to pay his full

outstanding debt. In any event, he is unable to pay off his felony LFOs

prior to the start of the 2020 election cycle, and thus will be denied the

right to vote under SB 7066.

     46.   Plaintiffs Raysor, Sherrill, and Hoffman seek to represent a

class for Count 2 (Twenty-Fourth Amendment) and Count 4 (Procedural

Due Process) defined as: all persons otherwise eligible to register to vote

in Florida who are denied the right to vote pursuant to SB 7066 because

they have outstanding LFOs.

     47.   Plaintiffs Raysor, Sherrill, and Hoffman seek to represent a

subclass for Count 1 (Fourteenth Amendment) defined as: all persons

otherwise eligible to register to vote in Florida who are denied the right

to vote pursuant to SB 7066 because they are unable to pay off their

outstanding LFOs due to their socioeconomic status.

     48.   Defendant Laurel M. Lee is the Secretary of State of Florida

(“the Secretary”) and is sued in her official capacity. The Secretary is the

head of the Department of State (“the Department”) and the chief election


                                       14
    Case 4:19-cv-00300-RH-MJF Document 84 Filed 07/16/19 Page 15 of 49




officer of the state. As chief election officer, the Secretary is responsible

for obtaining and maintaining “uniformity in the interpretation and

implementation of the election laws,” and providing “uniform standards

for the proper and equitable interpretation and implementation” of such

laws. Fla. Stat. § 97.012(1)-(2). The Secretary is also responsible for

administering the statewide voter registration system. Id. § 97.012(11).

     49.   Further, under SB 7066, the Department of State is

responsible for identifying registered voters who have been convicted of

a felony and whose voting rights have not been restored, and for initiating

the process for removing potentially ineligible individuals from the voter

rolls. See S.B. 7066, supra, §§ 24, 25, amending Fla. Stat. § 98.075(5). The

Department is similarly responsible for obtaining and reviewing

information on new registrants’ eligibility for rights restoration and for

initiating the process for rejecting applications from potentially ineligible

voters. See id. § 25, enacting Fla. Stat. § 98.0751(3)(a).

                                  FACTS

     50.   The Florida Constitution prohibits individuals with felony

convictions from voting unless their voting rights have been restored. Fla.

Const. art. VI, § 4. As of January 8, 2019, except for persons convicted of


                                        15
    Case 4:19-cv-00300-RH-MJF Document 84 Filed 07/16/19 Page 16 of 49




murder or felony sexual offense, voting rights are restored automatically

“upon completion of all terms of sentence including parole and

probation.” Id. Persons convicted of murder or felony sexual offense are

permanently disenfranchised but may apply to the Board of Executive

Clemency to have their voting rights restored on a case-by-case basis. See

S.B. 7066, supra, § 25, enacting Fla. Stat. §98.0751(1).

     SB 7066

     51.   On June 28, 2019, Governor DeSantis signed SB 7066 into

law. SB 7066 purports to implement the constitutional provision

restoring voting rights to individuals with felony convictions, and states:

     A person who has been disqualified from voting based on a
     felony conviction for an offense other than murder or a felony
     sexual offense must have such disqualification terminated
     and his or her voting rights restored pursuant to s. 4, Art. VI
     of the State Constitution upon the completion of all terms of
     his or her sentence, including parole or probation.

S.B. 7066, supra, § 25, enacting Fla. Stat. § 98.0751(1).

     52.   But SB 7066 does not merely implement Amendment 4.

Rather, it severely restricts access to the right to vote. SB 7066 defines

“completion of all terms of sentence” to include not only any term of

imprisonment, probation, community control or supervision (collectively,

“carceral supervision”), but also the full payment of any LFOs, including

                                       16
    Case 4:19-cv-00300-RH-MJF Document 84 Filed 07/16/19 Page 17 of 49




restitution, fines and fees “ordered by the court as a part of the sentence

or that are ordered by the court as a condition of any form of supervision,”

even if those obligations have been converted to civil liens. Id., enacting

Fla. Stat. § 98.0751(2).

     53.   Governor DeSantis’ signing statement accompanying SB 7066

does not address these financial barriers to voting but does state his

personal opinion that Florida voters made a “mistake” by restoring

“voting rights to violent felons.” By requiring the payment of all LFOs—

many of which people with past convictions will never be able to pay—

Governor DeSantis has ratified a law that will undermine Amendment

4, which he deems a “mistake.”

     54.   Florida does not require courts to consider ability to pay at the

time LFOs are imposed. When seeking to enforce compliance with a legal

financial obligation, however, courts may inquire into ability to pay. See,

e.g., Fla. Stat. § 938.30. Based on the individual’s ability to pay, a court

seeking to enforce a legal financial obligation may order the individual to

comply with a payment schedule; convert the obligation to a judgment or

civil lien against the individual’s property; or may, in limited instances,

convert outstanding fines and court costs “into a court-ordered obligation


                                       17
    Case 4:19-cv-00300-RH-MJF Document 84 Filed 07/16/19 Page 18 of 49




to perform community service.” Id. Upon information and belief, many

mandatory LFOs cannot be converted to community service.

     55.   SB 7006 defines the “completion” of LFOs to include: actual

payment of the obligation in full; termination of the obligation by the

court, with the approval of the payee; or completion of all community

service hours where the court has converted the financial obligation to

community service. SB 7066, supra, § 25, enacting Fla. Stat. §

98.0751(5)(e). Finally, SB 7066 states that “[t]he requirement to pay any

financial obligation specified in this paragraph is not deemed completed

upon conversion to a civil lien.” Id. This language, however, does not

directly address the circumstance of Plaintiff Raysor, whose LFOs were

imposed as civil liens as an initial matter.

     56.   While SB 7066 acknowledges that LFOs can be modified by

the sentencing court, it does not require any modifications to LFOs, even

in cases where indigence or inability to pay is the only barrier to voting

rights restoration.

     THE IMPACT OF SB 7066

     57.   Across all jurisdictions in Florida, over $700 million in fines,

court costs, and other monetary penalties were assessed in 2018 alone.


                                       18
     Case 4:19-cv-00300-RH-MJF Document 84 Filed 07/16/19 Page 19 of 49




In addition, over $481 million in fees, service charges, and costs were

assessed during 2018. These figures do not include the enormous sum of

fines and fees that were assessed prior to 2018 but are still outstanding.

      58.    Criminal Circuit Courts in Florida assessed over $275 million

in fines and fees during 2018. Of that amount, nearly thirty percent is

categorized as at risk for collection due to indigence or reduction to a civil

judgment or lien. In several Circuits, the amount at risk due to indigence

is over forty percent. Criminal Circuit Courts in Florida converted only

about $1.2 million in court fines to community service during 2018.

      59.    The Department of Corrections reported just under $20

million dollars in revenue from cost of supervision fees in fiscal year 2017-

2018, nearly $50 million dollars in revenue from restitution, fines, and

court costs, and over $20 million dollars in court ordered fees.1

      60.    Individuals with past felony convictions are more likely to

have lower incomes than other registered voters, and to live in

neighborhoods with higher unemployment than other Florida voters.2




      1      Fla.      Dep’t    of     Corr.,      2017-2018     Annual     Report    6,
http://www.dc.state.fl.us/pub/annual/1718/FDC_AR2017-18.pdf.
        2 See Kevin Morris, Thwarting Amendment 4, BRENNAN CTR. FOR JUSTICE,

https://www.brennancenter.org/sites/default/files/analysis/2019_05_FloridaAmendment_FI
NAL-3.pdf.
                                              19
    Case 4:19-cv-00300-RH-MJF Document 84 Filed 07/16/19 Page 20 of 49




     61.   On information and belief, many individuals with fines, fees,

and restitution ordered as part of their sentence or as a condition of

supervision related to a felony conviction also have other LFOs assessed

through the criminal justice system. These may include LFOs associated

with felony convictions but not ordered at the time of sentence or as a

condition of supervision. In other instances, LFOs may be related to

misdemeanor or civil judgments, rather than a felony conviction. On

information and belief, these LFOs are not disaggregated by the County

or the court when converted to a civil judgment, lien, community service,

or incorporated into a payment plan.

     62.   For example, upon information and belief, Plaintiff Raysor

has fines and fees associated with her misdemeanor convictions, which

are a part of the $4,260 she still owes. Based on the records available to

Plaintiff Raysor, she cannot ascertain how much of her $30 monthly

payments go towards her felony versus misdemeanor LFOs. Nor does she

know if she may prioritize paying the LFOs associated with her felony

convictions, which prevent her from voting.

     63.   Similarly, Plaintiff Raysor does not know how the outstanding

LFOs associated with her felony convictions break down, such that she


                                       20
    Case 4:19-cv-00300-RH-MJF Document 84 Filed 07/16/19 Page 21 of 49




cannot determine which of these LFOs fall within the scope of SB 7066,

and which fall outside the scope of SB 7066. Nor does she know whether

the fact that her LFOs were initially imposed as a civil lien—rather than

converted—affects their status under SB 7066.

     64.   Likewise, Plaintiff Sherrill believes that some of her

outstanding LFOs are penalties for nonpayment that should not bar her

from voting under SB 7066. But since the full balance has been sent to a

collections agency, she does not know if or how she may prioritize paying

the LFOs that disqualify her from voting.

     65.   Plaintiff Sherrill does not know if there are additional fines,

fees, and costs within her outstanding balance that fall outside the scope

of SB 7066.

     66.   Finally, although only $469.88 of Plaintiff Hoffman’s

$1,772.13 in LFOs are related to his felony convictions, he does not know

how much of that amount was imposed as part of his sentence, or whether

any of it encompasses penalties or other costs incurred after sentencing.

Nor does Plaintiff Hoffman know how he can prioritize payment of those

LFOs related to his felony convictions, to ensure he is not denied the right

to vote on account of non-disqualifying LFOs.


                                       21
    Case 4:19-cv-00300-RH-MJF Document 84 Filed 07/16/19 Page 22 of 49




     67.   For individuals whose LFOs have been converted to

community service, a civil judgment, or lien, satisfaction of the obligation

is often determined by a private third-party. Private, non-profit,

community, or charitable organizations may all serve as community

service agencies for the purpose of court-ordered community service. See

Fla. Stat. § 318.18. The responsibility for monitoring and recording

community service hours—defined as “uncompensated labor for a

community service agency”—falls to these entities. Id. Similarly, a

county may pursue the collection of outstanding LFOs through private

attorneys and collection agencies. Not only does this place the obligation

in the hands of a third party, but Florida allows those parties to impose

a surcharge of up to forty percent of the balance owed as a collection fee.

     68.   For example, at times when she was facing financial hardship,

Plaintiff Raysor has fallen behind on paying her LFOs. As a result, in

2014, her debts were placed with a collection agency, Penn Credit, which

imposed a forty percent surcharge on her balance. Plaintiff Raysor also

lost her driver’s license as a consequence of her overdue LFOs.

Ultimately, she was able to petition the court to remove the surcharge,




                                       22
    Case 4:19-cv-00300-RH-MJF Document 84 Filed 07/16/19 Page 23 of 49




place her back on a payment plan, and reinstate her driver’s license. She

currently pays $30 per month toward her LFO balance.

     69.   Upon information and belief, Plaintiff Sherrill’s outstanding

balance includes several substantial fees imposed as penalties for

transfer to a collections agency.

     70.   Fines and fees that may be assessed as part of an individual’s

sentence include, but are not limited to: mandatory assessments for the

Court Cost Clearing Trust Fund, the Crimes Compensation Trust Fund,

the Operating Trust Fund of the Department of Law Enforcement, a

mandatory $225 fine for a felony conviction, mandatory fines assessed

based on the specific felony conviction or convictions, mandatory costs

authorized by local governmental entities, discretionary costs related to

the specific type of case or conviction, and additional surcharges on these

costs. See generally ch. 983, Fla. Stat.

     71.   In addition, conditions of carceral supervision imposed at

sentencing may include, but are not limited to: payment of debts due to

a detention center for medical care, treatment, hospitalization, or

transportation; application fees and attorneys’ costs and fees if the

individual had a public defender appointed; and reimbursement for costs


                                           23
     Case 4:19-cv-00300-RH-MJF Document 84 Filed 07/16/19 Page 24 of 49




of drawing and transmitting blood or DNA samples to the Department of

Law Enforcement. See, e.g., Fla. Stat. § 948.03.

      72.   In other words, under SB 7066, it appears an individual’s

right to vote may be conditioned on the payment of outstanding medical

debt that accrues after sentencing.

      73.   Thus, the requirement in SB 7066 that an individual pay off

all LFOs “ordered by the court as a condition of any form of supervision,”

SB 7066, § 25, enacting Fla. Stat. § 98.0751(2)(a)(5)(b), is inconsistent

with later language stating that payment of LFOs “accrue[d] after the

date the obligation is ordered as a part of the sentence” is not required to

be   eligible   for   rights   restoration,   id.,   enacting   Fla.   Stat.   §

98.0751(2)(a)(5)(c). This internally incoherent language will undoubtedly

leave Florida citizens in the dark about which LFOs are disqualifying

and which LFOs are not disqualifying.

      74.   Upon information and belief, this confusion will only be

compounded by the lack of easy access to records disaggregating the

LFOs incurred by a person with a past conviction. Plaintiffs Raysor,

Sherrill, and Hoffman even with assistance of counsel, have been unable

to ascertain this information with respect to their own outstanding debts.


                                         24
     Case 4:19-cv-00300-RH-MJF Document 84 Filed 07/16/19 Page 25 of 49




      75.   SB 7066 itself recognizes that Florida citizens are not likely

to be able to assess their own eligibility to vote under this law. It provides

for the creation of a “Restoration of Voting Rights Work Group.” SB 7066,

§33. The work group is charged with developing recommendations for the

Legislature related to “[t]he process of informing a registered voter of the

entity or entities that are custodians of the relevant data necessary for

verifying . . . eligibility for restoration of voting rights.” Id.

      76.   Yet, although SB 7066 became effective on July 1, 2019, these

recommendations are not due to the Legislature for consideration until

November 1, 2019. Id. In other words, the Legislature passed SB 7066

fully aware that eligible Florida citizens will struggle or be unable to

ascertain their eligibility to vote.

      77.   Nonetheless, since July 1, 2019, Florida citizens risk criminal

sanction if they register to vote while their voting rights have not, in fact,

been restored under SB 7066’s vague and ambiguous language—despite

the fact that the updated state voter registration form required by SB

7066 will not mention the LFO requirement at all.

      78.   Further, between January and March 2019 alone, more than

2,000 individuals with past felony convictions registered to vote in


                                          25
    Case 4:19-cv-00300-RH-MJF Document 84 Filed 07/16/19 Page 26 of 49




Florida.3 Indeed, upon information and belief, as many as 8,000 to 15,000

people with past felony convictions have registered to vote since the

effective date of Amendment 4. Upon information and belief, many of

these individuals, like Plaintiff Hoffman, have outstanding LFOs.

     79.      Defendant Lee is responsible for ensuring compliance with all

state election laws. Yet, upon information and belief, Defendant Lee took

no action during the period between January 8, 2019 and July 1, 2019 to

prohibit individuals with past felony convictions who completed their

sentence but had outstanding LFOs from registering to vote. Defendant

Lee did not instruct registrars to deny the applications of individuals

with past felony convictions on the basis of outstanding LFOs or remove

individuals with past felony convictions from the voter rolls on the basis

of outstanding LFOs.

     80.      In other words, prior to the enactment of SB 7066,

Amendment          4’s   implementation   included   no   requirement    that

individuals with past convictions pay all outstanding LFOs prior to

registering to vote. Defendant Lee did not interpret or implement

Amendment 4 as denying rights registration to otherwise eligible



     3   See Morris, supra note 2.
                                          26
    Case 4:19-cv-00300-RH-MJF Document 84 Filed 07/16/19 Page 27 of 49




individuals on the basis of outstanding LFOs. Nor did Defendant Lee

recognize or seek to enforce a duty on the part of any county supervisor

to deny rights registration to otherwise eligible individuals on the basis

of outstanding LFOs.

     81.   SB 7066 itself recognizes that the state of Florida cannot

retroactively punish otherwise eligible individuals with outstanding

LFOs who registered to vote during the period between January 8, 2019

and July 1, 2019, on the basis that such individuals made a false

affirmation by indicating that their voting rights had been restored. See

S.B. 7066, 2019 Leg., Reg. Sess., § 26 (Fla. 2019) (enacting Fla. Stat. §

104.011(3)).

     82.   SB 7066 provides no such safe harbor, however, for

individuals with outstanding LFOs who registered during the interim

period and later vote in an election after July 1, 2019. Yet, like Plaintiff

Hoffman, many such individuals remain actively registered despite the

fact that SB 7066 is now in effect. SB 7066 placed every such individual

in jeopardy of criminal prosecution if they subsequently vote in an

election in reliance on their active registration status.




                                        27
    Case 4:19-cv-00300-RH-MJF Document 84 Filed 07/16/19 Page 28 of 49




     83.   The mechanics of SB 7066 are inordinately complicated for

affected citizens, and its scope is vague. Its consequences, however, are

clear. Under SB 7066, Floridians with past felony convictions who have

completed their term of carceral supervision, including incarceration,

probation, and parole, and who either do not have LFOs or have paid

them off, will automatically have their voting rights restored. Individuals

who have outstanding LFOs are denied the right to vote unless or until

they are able to satisfy their financial obligations. An individual who is

unable to pay off her outstanding LFOs due to her socioeconomic status

is permanently denied the right to vote.

     84.   In short, SB 7066 conditions the restoration of voting rights

entirely upon an individual’s financial resources, in violation of the

Fourteenth and Twenty-Fourth Amendments.

     EXECUTIVE CLEMENCY

     85.   Under SB 7066, individuals who are disenfranchised solely

because of their outstanding LFOs may apply for executive clemency,

subject to the “unfettered discretion” of the Florida Governor. See SB

7066, § 25, enacting Fla. Stat. § 98.0751(1); Fla. R. Exec. Clemency 4.




                                       28
     Case 4:19-cv-00300-RH-MJF Document 84 Filed 07/16/19 Page 29 of 49




This “unfettered discretion” means the Governor has the authority “to

deny clemency at any time, for any reason.” Fla. R. Exec. Clemency 4.

       86.    Thus, individuals able to pay their LFOs can register and vote

automatically upon completing carceral supervision, while those unable

to pay are disenfranchised indefinitely, subject to the whim of the

Governor.

       87.    Applying for executive clemency is extremely burdensome. An

individual with outstanding LFOs must wait seven years after the

completion of carceral supervision to apply for a restoration of civil

rights.4 Fla. R. Exec. Clemency 5. If denied, an applicant must wait for

at least two years to reapply. Fla. R. Exec. Clemency 14. Applications

must contain certified copies of the charging document, judgment, and

sentence for each felony conviction. Fla. R. Exec. Clemency 6(B). After

applying, the individual is subject to an investigation by the Florida

Commission on Offender Review, and her application will be decided at

a hearing in Tallahassee.5 Fla. R. Exec. Clemency 8(B). The applicant


       4 Individuals with no outstanding restitution may be eligible to apply for rights
restoration after five years, depending on their crime of conviction. See Fla. R. Exec.
Clemency 9.
       5 Prior to January 8, 2019, all Floridians with past felony convictions were

permanently disenfranchised unless they applied for and obtained a restoration of civil rights
from the Governor and the Board of Clemency. Under this system, individuals who had paid
their restitution were eligible to apply for rights restoration without being subject to a
                                                 29
     Case 4:19-cv-00300-RH-MJF Document 84 Filed 07/16/19 Page 30 of 49




must give ten days notice to the Board if she or any other person intends

to speak at the hearing on her behalf. Fla. R. Exec. Clemency 12(B). The

final determination of any application is subject to the “unfettered

discretion” of the Florida Governor. Fla. R. Exec. Clemency 4.

       88.    Thus, even after completing the burdensome application

process, individuals who lack the means to pay their LFOs will not be

allowed to vote “unless Florida’s Governor approves restoration of this

fundamental right” or a complete remission of their LFOs. Hand v. Scott,

285 F. Supp. 3d 1289, 1292 (N.D. Fla. 2018). Meanwhile, similarly

situated individuals—including those convicted of the same crimes—are

granted automatic restoration of their voting rights based solely on their

ability to pay their LFOs.

       89.    This process necessarily discriminates on the basis of wealth.

Rights restoration is guaranteed to individuals of financial means, while

the indigent must not only suffer the indignity of having to beg for their


hearing. In Johnson v. Governor of Fla., the Eleventh Circuit found the hearing requirement,
standing alone, insufficient to support a claim that restoration was conditioned upon an
applicant’s financial resources. 405 F.3d 1214, 1216 n.1 (11th Cir. 2005). The Court reserved
ruling, however, on the question of “whether conditioning an application for clemency on
paying restitution would be an invalid poll tax.” Id. Plaintiffs’ claims present exactly the
question reserved by the Court. But for their outstanding LFOs, Plaintiffs’ voting rights
would be restored. But for their outstanding LFOs, Plaintiffs would not be subject to a
discretionary restoration process at all. The entire clemency procedure is conditioned upon
otherwise eligible individuals’ inability to pay.
                                                30
    Case 4:19-cv-00300-RH-MJF Document 84 Filed 07/16/19 Page 31 of 49




rights to be restored, but they must do so on blind faith, without any

notice of the conditions, factors, or whims that will determine if their

application is successful.

                        CLASS ALLEGATIONS

     90.   Upon information and belief, at least 500,000 individuals with

past felony convictions who are otherwise eligible under Amendment 4

have outstanding LFOs and are therefore not qualified for voting rights

restoration under SB 7066, just like Plaintiffs. Thousands of currently

registered voters with outstanding LFOs risk removal from the voter

registration rolls, or, to the extent they remain on the rolls, criminal

prosecution if they vote in reliance on their active registration. Countless

otherwise eligible individuals will be prevented from exercising their

right to vote in the future because they are unable to pay their LFOs due

to their socioeconomic status.

     91.   Pursuant to Federal Rule of Civil Procedure 23, Plaintiffs

Raysor, Sherrill, and Hoffman bring this action on behalf of themselves

and all other similarly situated persons. Plaintiffs Raysor, Sherrill, and

Hoffman do not seek claims for compensatory relief. Instead, Plaintiffs

seek only declaratory and injunctive relief broadly applicable to members


                                       31
    Case 4:19-cv-00300-RH-MJF Document 84 Filed 07/16/19 Page 32 of 49




of the Plaintiff Class and the Plaintiff Subclass, as defined above. The

requirements of Rule 23, and in particular Rule 23(b)(2), are met with

respect to the Plaintiff Class and Plaintiff Subclass as defined in ¶¶ 22

and 23.

     92.   The members of the Plaintiff Class and Plaintiff Subclass are

so numerous that joinder is impracticable. While the exact number of

members in the Plaintiff Class and Plaintiff Subclass are not publicly

available, upon information and belief, the total number of otherwise

eligible citizens of Florida disenfranchised due to some combination of

outstanding fines, fees, or restitution exceeds 500,000. The Plaintiff Class

and Plaintiff Subclass are ascertainable through Defendant’s records and

records kept by the Florida State Department of Corrections. Indeed,

under SB 7066, it is Defendant’s responsibility to identify registrants

who are not eligible for rights restoration because they have outstanding

LFOs.

     93.   Common questions of law and fact predominate over

questions affecting only individual class and subclass members with

respect to allegations in this complaint. Those questions include, but are

not limited to, the following:


                                       32
    Case 4:19-cv-00300-RH-MJF Document 84 Filed 07/16/19 Page 33 of 49




           a. Whether SB 7066 discriminates on the basis of wealth in

              violation of the Fourteenth Amendment.

           b. Whether SB 7066 constitutes a poll tax in violation of the

              Twenty-Fourth Amendment.

           c. Whether SB 7066 creates an impermissible risk of

              erroneous deprivation of the fundamental right to vote in

              violation of the Fourteenth Amendment.

     94.   Plaintiffs’ claims are typical of the Plaintiff Class and Plaintiff

Subclass as defined in ¶¶ 22 and 23. Plaintiffs Raysor, Sherrill, and

Hoffman are not aware of any conflict between their interests and those

of the Plaintiff Class and Plaintiff Subclass they seek to represent.

     95.   Plaintiffs Raysor, Sherrill, and Hoffman can fairly and

adequately represent the interests of the Plaintiff Class and Plaintiff

Subclass because they are similarly situated with class members.

Plaintiffs have retained counsel experienced in class-action and voting

rights litigation to represent them and the Plaintiff Class and Plaintiff

Subclass for the purpose of this litigation.

     96.   Defendants have acted, or refused to act, on grounds generally

applicable to the entire class, and final injunctive relief and


                                        33
    Case 4:19-cv-00300-RH-MJF Document 84 Filed 07/16/19 Page 34 of 49




corresponding declaratory relief are appropriate respecting the class as a

whole.

                             CLAIMS
            Count 1: Wealth-Based Disenfranchisement,
                      Fourteenth Amendment

      97.   Plaintiffs reallege the facts set forth in paragraphs 1-96

above.

      98.   Wealth “is not germane to one’s ability to participate

intelligently in the electoral process.” Harper v. Va. State Bd. of Elections,

383 U.S. 663, 668 (1966).

      99.   A state “violates the Equal Protection Clause of the

Fourteenth Amendment whenever it makes the affluence of the voter or

payment of any fee an electoral standard.” Id. at 666; see also Johnson v.

Governor of Fla., 405 F.3d 1214, 1216 n.1 (11th Cir. 2005).

      100. By requiring an otherwise eligible Florida citizen to pay all

LFOs before she is eligible to restore her right to vote, SB 7066

impermissibly makes financial payments an electoral standard.

      101. By requiring an otherwise eligible Florida citizen to pay all

LFOs before she is eligible to restore her right to vote, SB 7066




                                        34
    Case 4:19-cv-00300-RH-MJF Document 84 Filed 07/16/19 Page 35 of 49




impermissibly makes the affluence of an otherwise eligible voter an

electoral standard.

     102. It is well established that “a citizen has a constitutionally

protected right to participate in elections on an equal basis with other

citizens in the jurisdiction.” Dunn v. Blumstein, 405 U.S. 330, 336 (1972).

Thus, “[h]aving once granted the right to vote on equal terms, the State

may not by later arbitrary and disparate treatment, value one person’s

vote over that of another.” Bush v. Gore, 531 U.S. 98, 104–5 (2000).

Rather, “once the franchise is granted to the electorate, lines may not be

drawn which are inconsistent with the Equal Protection Clause of the

Fourteenth Amendment.” Harper, 383 U.S. at 665.

     103. Plaintiffs Raysor, Sherrill, and Hoffman, and members of the

Plaintiff Subclass are unable to afford to pay their remaining LFOs, and,

as of July 1, 2019, this is the only reason they are not eligible to register

and vote in the state of Florida. In the case of Plaintiff Hoffman, SB 7066

will lead to his removal from the voter rolls and prohibits him from voting

even while he remains on the voter rolls.

     104. The mere possibility that LFOs could, in some cases, be

modified—left to the discretion of individual judges—does nothing to


                                        35
      Case 4:19-cv-00300-RH-MJF Document 84 Filed 07/16/19 Page 36 of 49




alleviate this unconstitutional barrier to voting for Plaintiffs and other

members of the Plaintiff Subclass. Nor does the possibility that the

Governor could, if he felt so moved, exercise his discretion to restore the

right to vote to individuals with outstanding LFOs on a case-by-case

basis. Indeed, Representative James Grant noted in enacting SB 7066

that discretionary rights restoration is “‘a recipe for rampant

discrimination.’”6 Moreover, it is well established that imposing

additional requirements on voters who cannot pay is no more

constitutionally permissible than outright disenfranchisement. See

Harman v. Forssenius, 380 U.S. 528 (1965).

       105. It is also well established that a state may not impose

additional punishment7 or deprive a citizen of a fundamental right solely

because “through no fault of his own, he cannot pay the fine.” Bearden v.

Georgia, 461 U.S. 660, 673 (1983). In other words, Bearden requires a



       6  Tyler Kendall, Felons in Florida Won Back Their Right to Vote. Now a New Bill
Might Limit Who Can Cast a Ballot, CBS News (May 23, 2019),
https://www.cbsnews.com/news/florida-felons-won-back-right-to-vote-new-bill-might-limit-
who-can-cast-ballot-2019-05-23/.
        7 While not a necessary element of Plaintiffs’ claims, disenfranchisement on the basis

of a past conviction—and continued because of inability to pay LFOs—certainly qualifies as
punishment. See Johnson, 405 F.3d at 1228 (“Indeed, throughout history, criminal
disenfranchisement provisions have existed as a punitive device.”); see also Act of June 25,
1868, ch. 70, 15 Stat. 73, 73 (Readmission Act for Florida) (prohibiting any change to the
state constitution that “deprive[s] any citizen or class of citizens of the United States of the
right to vote . . . except as punishment for such crimes as are now felonies at common law”).
                                                  36
    Case 4:19-cv-00300-RH-MJF Document 84 Filed 07/16/19 Page 37 of 49




careful consideration of ability to pay before fundamental rights are

withheld on the basis of failure to pay a fine.

     106. SB 7066 provides no such procedure. Neither Plaintiffs

Raysor nor Sherrill have a mechanism for receiving an exception from SB

7066’s requirements because they are unable to pay their LFOs prior to

the next election. In the case of Plaintiff Lee, SB 7066 authorizes his

removal based on outstanding LFOs without any inquiry into his ability

to pay his LFOs. Failure to condition the LFOs requirement on an ability

to pay inquiry further violates “the fundamental fairness required by the

Fourteenth Amendment.” Id.

     107. Florida has no cognizable interest in denying its citizens the

right to vote solely on the basis that they are unable to pay their LFOs.

“[W]ealth or fee paying has . . . no relation to voting qualifications.”

Harper, 383 U.S. at 670. When the LFOs requirement is applied to those

unable to pay, “the statute merely prevents” citizens from voting “without

delivering any money at all into the hands of [the State].” Zablocki v.

Redhail, 434 U.S. 374, 389 (1978); see also Bearden, 461 U.S. at 670

(“Revoking the probation of someone who through no fault of his own is




                                       37
    Case 4:19-cv-00300-RH-MJF Document 84 Filed 07/16/19 Page 38 of 49




unable to make restitution will not make restitution suddenly

forthcoming.”).

     108. SB 7066 invidiously discriminates between Florida citizens

with prior felony convictions who have been discharged from carceral

supervision and who are able to pay their LFOs, and Florida citizens with

prior felony convictions, who have been discharged from carceral

supervision but are unable to pay their LFOs, in violation of the

Fourteenth Amendment.

          Count 2: Poll Tax, Twenty-Fourth Amendment

     109. Plaintiffs reallege the facts set forth in paragraphs 1-108

above.

     110. The Twenty-Fourth Amendment provides that “[t]he right of

citizens of the United States to vote in any primary or other election for

President or Vice President, for electors for President or Vice President,

or for Senator or Representative in Congress, shall not be denied or

abridged by the United States or any State by reason of failure to pay any

poll tax or other tax.” U.S. Const. amend. XXIV, § 1 (emphasis added).




                                      38
    Case 4:19-cv-00300-RH-MJF Document 84 Filed 07/16/19 Page 39 of 49




     111. For those who are otherwise eligible, SB 7066 denies the right

to vote to those who cannot afford to pay their LFOs solely by reason of

their failure to pay fines and fees to the State of Florida.

     112. SB 7066 hinges access to the right to vote on the payment of

many fines and fees to the government—such as contributions to various

state funds and to the costs of the court system itself—that fall well

within any reasonable definition of “other tax.” See U.S. v. State Tax

Comm’n of Miss., 421 U.S. 599, 606 (1975) (noting that the “standard

definition of a tax” is any “enforced contribution to provide for the support

of government”).

     113. The failure to call SB 7066’s LFOs requirement a “poll tax”

does nothing to change its function, which hinges access to the ballot box

on the payment of a variety of fines and fees to the state of Florida. See

Harman, 380 U.S. at 540-41 (“[T]he Twenty-fourth [Amendment]

nullifies sophisticated as well as simple-minded modes of impairing the

right guaranteed.” (internal quotation marks omitted)).

     114. SB 7066 directly conflicts with the prohibition of the Twenty-

Fourth Amendment.




                                        39
    Case 4:19-cv-00300-RH-MJF Document 84 Filed 07/16/19 Page 40 of 49




Count 3: Void for Vagueness, First and Fourteenth Amendment

     115. Plaintiffs reallege the facts set forth in paragraphs 1-114,

above.

     116. The Due Process Clause of the Fourteenth Amendment to the

U.S. Constitution requires that a law that imposes penalties give

ordinary people reasonable notice of what conduct it prohibits and guard

against arbitrary and discriminatory enforcement.

     117. The applicability of the void for vagueness doctrine is

heightened both when criminal sanctions are attached to a vague law and

when the First Amendment is implicated.

     118. Here, SB 7066 does both. It attaches threat of criminal

sanction to the acts of registering to vote and voting, both of which fall

squarely within “core political speech” given the utmost First

Amendment protection.

     119. SB 7066 does not reasonably inform people with past

convictions of which LFOs—imposed as a condition of supervision or

imposed in the first instance as civil liens—are disqualifying and which

are not. Nor does it, by its own admission, provide citizens with access to

the records necessary to determine their eligibility. Like Plaintiffs, the


                                       40
     Case 4:19-cv-00300-RH-MJF Document 84 Filed 07/16/19 Page 41 of 49




reasonable person with a variety of outstanding LFOs will not be able to

determine which LFOs are disqualifying and which are not, or how to

prioritize paying disqualifying LFOs.

      120. The state voter registration form—as updated by SB 7066—

will not provide citizens with meaningful information to determine their

eligibility to vote.

      121. Nonetheless, the state subjects voters who make an error in

determining their eligibility to the threat of criminal prosecution.

      122. This cocktail of confusion and obfuscation will undeniably

chill the registration and voting of eligible Florida voters in violation of

the First and Fourteenth Amendments. The ambiguous portions of the

LFOs requirement—as they relate to LFOs imposed as conditions of

supervision or as civil liens in the first instance—must be enjoined.

   Count 4: Violation of Due Process, Fourteenth Amendment

      123. Plaintiffs reallege the facts set forth in paragraphs 1-122,

above.

      124. A “claim alleging a denial of procedural due process requires

proof of three elements: (1) a deprivation of a constitutionally protected

liberty or property interest; (2) state action; and (3) constitutionally


                                        41
    Case 4:19-cv-00300-RH-MJF Document 84 Filed 07/16/19 Page 42 of 49




inadequate process.” Grayden v. Rhodes, 345 F.3d 1225, 1232 (11th Cir.

2003).

     125. Plaintiffs Raysor, Sherrill, and Hoffman and the members of

the Plaintiff Class and Subclass have a constitutionally protected right

to vote upon completion of their sentence per Art. VI § 4 of the Florida

Constitution and the Fourteenth Amendment to the U.S. Constitution.

     126. SB 7066 denies otherwise eligible individuals the right to vote

unless and until they pay off certain—but not all—legal financial

obligations.

     127. Further, SB 7066 fails to provide for adequate procedures to

ensure that individuals who qualify for rights restoration are able to

register and vote in Florida.

     128. Determining what process is due under the Fourteenth

Amendment “is a flexible concept that varies with the particular

circumstances of each case.” Id. Under Mathews v. Eldridge, the

determination of what process is due rests on the balance between (1) the

interest affected; (2) the risk of erroneous deprivation under the current

procedures and the “probable value, if any, of additional or substitute

procedural safeguards;” and (3) the state’s interest, including the “fiscal


                                       42
    Case 4:19-cv-00300-RH-MJF Document 84 Filed 07/16/19 Page 43 of 49




and administrative burdens” additional procedures would entail. 424

U.S. 319, 335 (1976).

        129. Here, the constitutionally protected interest at stake is no less

than the fundamental right to vote, and the risk of erroneous deprivation

is high. SB 7066 conditions the restoration of voting rights on payment

of unenumerated legal financial obligations, without providing for any

process by which an otherwise eligible voter can (1) differentiate between

LFOs that are disqualifying and those which are non-disqualifying, or (2)

prioritize payment of disqualifying LFOs, such that they are not

disenfranchised by their inability to pay off non-disqualifying LFOs.

        130. The Florida criminal justice system imposes a dizzying array

of fines, fees, and costs on persons with felony convictions, including

processing fees, surcharges, penalties, and costs that are incurred after

sentencing, but which must be paid off as a condition of supervision. Not

only is SB 7066 itself internally inconsistent about which LFOs

disqualifying, it fails to provide any procedures for otherwise eligible

individuals to determine which of their LFOs are disqualifying, or to

prioritize payment of those LFOs that prevent them from being able to

vote.


                                         43
    Case 4:19-cv-00300-RH-MJF Document 84 Filed 07/16/19 Page 44 of 49




     131. In other words, even those individuals able to pay their

disqualifying LFOs may be denied the right to vote because they are

unable to determine which LFOs are disqualifying, or because they are

not allowed to pay fully their disqualifying LFOs without also paying

toward their non-disqualifying LFOs.

     132. Further, SB 7066 fails to provide any procedures for how

Defendant Lee shall identify registered voters or new registrants whose

rights have not been restored due to disqualifying LFOs, including on

what basis Defendant Lee shall determine that information related to an

individual’s disqualifying LFOs is “credible and reliable.” S.B. 7066, 2019

Leg., Reg. Sess., § 24 (Fla. 2019).

     133. In creating the Restoration of Voting Rights Work Group, SB

7066 acknowledges that Defendant Lee does not yet know what data is

necessary to determine an individual’s eligibility to vote under SB 7066,

and that no process yet exists for informing registered voters where they

may find this information. Indeed, the Work Group’s report and

recommendations for developing these data sources and procedures are

not due until four months after the effective date for SB 7066. And the




                                       44
    Case 4:19-cv-00300-RH-MJF Document 84 Filed 07/16/19 Page 45 of 49




law makes no provision for when or if these recommendations, or any

other such procedures, shall be adopted.

     134. The lack of procedural safeguards creates a substantial

likelihood that eligible voters will be denied the right to vote upon

completion of their sentence based on outstanding but non-disqualifying

LFOs.

     135. In other words, SB 7066 creates a substantial likelihood that

individuals entitled to rights restoration under the Florida Constitution

will be erroneously deprived of their right to vote.

     136. As stated above, the state has no cognizable interest in

discriminating against otherwise eligible voters on the basis of wealth.

Nor does the state have any interest in using the right to vote as an

incentive for individuals to pay their LFOs. And even to the extent the

state has an interest in ensuring that persons with past felony

convictions pay in full their financial obligations associated with their

convictions, there is simply no evidence to suggest that withholding

voting rights until payment of LFOs is complete assists the state in

achieving that end any more so than existing procedures unrelated to

voting. Indeed, the fiscal and administrative burdens on the state of


                                       45
    Case 4:19-cv-00300-RH-MJF Document 84 Filed 07/16/19 Page 46 of 49




ensuring that eligible voters are not denied the right to vote under SB

7066 are substantially higher than they otherwise would be, absent the

LFO requirements.

     137. SB 7066 therefore violates due process because it creates a

procedure for restoration of voting rights that is fundamentally unfair

and gives rise to a substantial likelihood of erroneous deprivation of the

right to vote, and which cannot be justified by any cognizable state

interest.

                          PRAYER FOR RELIEF

     WHEREFORE, Plaintiffs respectfully pray that this Court:

            (1) Certify the Plaintiff Class as defined in paragraph 46, and

              the Plaintiff Subclass as defined in paragraph 47;

            (2) Issue a declaratory judgment that SB 7066, by its terms and

              as applied, violates the Fourteenth and Twenty-Fourth

              Amendments of the U.S. Constitution;

            (3) Issue a declaratory judgment that the identified LFOs

              portions of SB 7066, by their terms and as applied, are void

              for vagueness in violation of the First and Fourteenth

              Amendments;


                                        46
Case 4:19-cv-00300-RH-MJF Document 84 Filed 07/16/19 Page 47 of 49




    (4) Issue a declaratory judgment that SB 7066 fails to provide

       adequate safeguards against unlawful disenfranchisement in

       violation of the Fourteenth Amendment;

    (5) Enjoin Defendant, her agents, employees, and successors,

       and all those persons acting in concert or participation with

       them, from enforcing SB 7066 including:

      a. Enjoining Defendant from initiating a process for the

         rejection of any voter registration applications on the basis

         of outstanding LFOs;

      b. Enjoining Defendant from initiating a process for the

         removal of any voters from the voter registration rolls on

         the basis of outstanding LFOs;

      c. Requiring     Defendant    to   instruct   county    election

         supervisors that outstanding LFOs do not disqualify any

         individual from voting rights restoration, and therefore not

         to remove or reject any registrant based on outstanding

         LFOs;




                                   47
Case 4:19-cv-00300-RH-MJF Document 84 Filed 07/16/19 Page 48 of 49




      d. Requiring Defendant to inform those with past felony

         convictions that the failure to pay LFOs does not disqualify

         them from voting rights restoration under Amendment 4;

      e. Requiring     Defendant    to   instruct   county    election

         supervisors to restore Florida citizens to the voter

         registration rolls if they were removed solely on the basis

         of their outstanding LFOs;

    (6) Award Plaintiffs their costs, expenses, and reasonable

       attorneys’ fees incurred in the prosecution of this action, as

       authorized by the Civil Rights Attorney’s Fees Awards Act of

       1973, 42 U.S.C. § 1988(b); and

    (7) Grant such other equitable and further relief as the Court

       deems just and proper.



                            Respectfully submitted,

                            /s/ Chad W. Dunn
                                   Counsel for Plaintiff

                            Chad W. Dunn
                            Florida Bar No. 0119137
                            1200 Brickell Avenue, Suite 1950
                            Miami, FL 33131
                            Telephone: (305) 783-2190

                                   48
Case 4:19-cv-00300-RH-MJF Document 84 Filed 07/16/19 Page 49 of 49




                            Facsimile: (305) 783-2268
                            chad@brazilanddunn.com

                            Danielle Lang (DC Bar No. 1500218)*
                            Mark P. Gaber (DC Bar No. 988077)*
                            Molly E. Danahy (DC Bar No. 1643411)*
                            Blair Bowie (DC Bar No. 252776)*
                            Jonathan Diaz (DC Bar No. 1613558)*
                            1101 14th Street NW, Suite 400
                            Washington, DC 20005
                            Telephone: (202) 736-2200
                            dlang@campaignlegal.org
                            mgaber@campaignlegal.org
                            mdanahy@campaignlegal.org
                            bbowie@campaignlegal.org
                            jdiaz@campaignlegal.org

                            *admitted pro hac vice




                                  49
